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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              SHERMAN DIVISION

 BRIAN HUDDLESTON,                           §
                                             §
                      Plaintiff,             §
                                             §    CIVIL ACTION No. 4:20CV447
 v.                                          §
                                             §
 FEDERAL BUREAU OF                           §
 INVESTIGATION and UNITED                    §    JUDGE AMOS MAZZANT
 STATES DEPARTMENT OF JUSTICE,               §
                                             §
                      Defendants.            §

                                       ORDER

        On this day came to be heard Defendants’ Unopposed Motion for Extension of

Time to File Motion for Summary Judgment and Vaughn Index, and having reviewed the

same, heard the arguments and objections, if any, this Court finds that the motion should

be granted. Therefore, it is

        ORDERED that Defendants’ Unopposed Motion for Extension of Time to File

Motion for Summary Judgment and Vaughn Index is GRANTED. Defendants shall

submit their motion for summary judgment and Vaughn index on or before December 15,

2021.
